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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-02242-KMT

FRED SHRADER,

              Plaintiff,

v.

FIRSTSOURCE ADVANTAGE, LLC, a New York limited liability company,

              Defendant.


                                 NOTICE OF SETTLEMENT


       COMES NOW the Plaintiff by and through his counsel of record and for his Notice

of Settlement, hereby states:

1.     The Plaintiff and the Defendant have reached a settlement.

2.     The parties will be filing a Notice of Dismissal with Prejudice with each party to pay

       its own attorney’s fees and costs once the settlement terms have been completed.

       The parties expect this to happen by September 19, 2014.

Respectfully Submitted,

s/ David M. Larson
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Attorney for the Plaintiff
